       CASE 0:24-cv-00001-ECT-TNL                          Doc. 115-7             Filed 12/10/24              Page 1 of 1


From:               Enslin, Sharda
To:                 "Kira Kelley"; Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:            RE: [EXTERNAL] Re: Settlement Proposal
Date:               Monday, November 25, 2024 9:18:00 AM


Hi Kira, did you ever send me an updated list of topics? What is your availability the week of
December 9th?

From: Kira Kelley <kira@climatedefenseproject.org>
Sent: Thursday, November 21, 2024 5:18 PM
To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
<karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
<Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>; Claire
Glenn <claire@climatedefenseproject.org>
Subject: [EXTERNAL] Re: Settlement Proposal

Hi Sharda,

Just wanted to follow up on this, and to check in on when the City would be available for
a deposition.

Hope you are well!

Kira

____________________
Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




                                                                                                                      Exhibit G
